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                                                                                                  2326 WAVE 7,RP - 2326

                                             United States District Court
                                    Southern District of West Virginia (Charleston)
                                    CIVIL DOCKET FOR CASE #: 2:14-cv-17998


          Cline et al v. Boston Scientific Corporation                       Date Filed: 06/10/2014
          Assigned to: Judge Joseph R. Goodwin                               Jury Demand: Both
          Lead case: 2:12-md-02326                                           Nature of Suit: 365 Personal Inj. Prod.
          Member case: (View Member Case)                                    Liability
          Case in other court: Arkansas Western, 5:14-cv-05090               Jurisdiction: Diversity
          Cause: 28:1332 Diversity-Product Liability
          Plaintiff
          Kortney R. Cline                                represented by Aimee H. Wagstaff
                                                                         ANDRUS & WAGSTAFF
                                                                         7171 West Alaska Drive
                                                                         Lakewood, CO 80226
                                                                         303/376-6360
                                                                         Fax: 303/376-6361
                                                                         Email: aimee.wagstaff@ahw-law.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                               G. Chadd Mason
                                                                               MASON LAW FIRM
                                                                               P. O. Box 1265
                                                                               Fayetteville, AR 72703
                                                                               479/587-9300
                                                                               Email: chaddmason@aol.com
                                                                               LEAD ATTORNEY
                                                                               ATTORNEY TO BE NOTICED

                                                                               Stephen Lance Cox
                                                                               COX COX & ESTES
                                                                               P. O. Box 878
                                                                               Fayetteville, AR 72701
                                                                               479/251-7900
                                                                               Fax: 479/251-7190
                                                                               Email: lcox@coxfirm.com
                                                                               LEAD ATTORNEY

          Plaintiff
          Jody Cline                                      represented by Aimee H. Wagstaff
                                                                         (See above for address)
                                                                         LEAD ATTORNEY



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               Case 5:14-cv-05090-TLB Document 30-1   Filed 09/01/20 Page 2 of 12 PageID #: 342

                                                                 ATTORNEY TO BE NOTICED

                                                                 G. Chadd Mason
                                                                 (See above for address)
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 Stephen Lance Cox
                                                                 (See above for address)
                                                                 LEAD ATTORNEY


          V.
          Defendant
          Boston Scientific Corporation           represented by James H. Keale
          and                                                    TANENBAUM KEALE
                                                                 Three Gateway Center, Suite 1301
                                                                 100 Mulberry Street
                                                                 Newark, NJ 07102
                                                                 973-242-0002
                                                                 Fax: 973-242-8099
                                                                 Email: jkeale@tktrial.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 Jon A. Strongman
                                                                 SHOOK HARDY & BACON
                                                                 2555 Grand Boulevard
                                                                 Kansas City, MO 64108
                                                                 816/474-6550
                                                                 Fax: 816/421-5547
                                                                 Email: jstrongman@shb.com
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                                                                 Kevin A. Crass
                                                                 FRIDAY ELDREDGE & CLARK
                                                                 Suite 2000
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                                                                 Little Rock, AR 72201-3522
                                                                 501/376-2011
                                                                 Fax: 501/376-2147
                                                                 Email: crass@fridayfirm.com
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED

                                                                 Michael A. Tanenbaum
                                                                 TANENBAUM KEALE
                                                                 Three Gateway Center, Suite 1301
                                                                 100 Mulberry Street


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                                                                          Newark, NJ 07102
                                                                          973-242-0002
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                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Roger Christopher Lawson
                                                                          FRIDAY, ELDREDGE & CLARK
                                                                          Suite 103
                                                                          3425 N. Futrall
                                                                          Fayetteville, AR 72703
                                                                          479/695-1103
                                                                          Fax: 479/695-2147
                                                                          Email: lawson@fridayfirm.com
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED

                                                                          Michael Bonasso
                                                                          FLAHERTY SENSABAUGH &
                                                                          BONASSO
                                                                          P. O. Box 3843
                                                                          Charleston, WV 25338-3843
                                                                          304/345-0200
                                                                          Fax: 304/345-0260
                                                                          Email: mbonasso@fsblaw.com
                                                                          ATTORNEY TO BE NOTICED

          Defendant
          John Does Nos. 1 and 2
          TERMINATED: 10/08/2014


          Date Filed     #   Docket Text
          03/14/2014     1 NOTICE OF REMOVAL with Jury Demand from Circuit Court of Washington County,
                           AR, case number 13-2032-4. ( Filing fee $ 400, receipt number 5004132), filed by
                           Boston Scientific Corporation. (Attachments: # 1 Exhibit A State Complaint)(src)
                           [Transferred from Arkansas Western on 6/10/2014.]
          03/14/2014     2 CIVIL COVER SHEET for case initiated by Boston Scientific Corporation. (src)
                           [Transferred from Arkansas Western on 6/10/2014.]
          03/14/2014     3 COMPLAINT with Jury Demand against Boston Scientific Corporation, John Does
                           Nos. 1 and 2, filed by Kortney R. Cline.(src) [Transferred from Arkansas Western on
                           6/10/2014.]
          03/14/2014     4 Magistrate Notice/Consent Furnished (src) [Transferred from Arkansas Western on
                           6/10/2014.]
          03/17/2014         CLERK'S NOTICE re Multiple Attorneys Listed on Pleading directed to Plaintiff
                             Kortney R. Cline. Complaint 3 lists multiple attorneys appearing for the filer. The
                             following attorney(s), who did not sign the pleading, must enter a separate Notice of


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                             Appearance in order to receive electronic notification of future activity in the case: G.
                             Chadd Mason. TEXT ONLY ENTRY, NO DOCUMENT ATTACHED. (tg)
                             [Transferred from Arkansas Western on 6/10/2014.]
          03/17/2014         CLERK'S NOTICE in Removal Case re Service of Process directing Plaintiff Kortney
                             R. Cline to file affidavits of service (or copies of proof of service filed in state court) for
                             defendant(s) who have already been served with summons and a copy of the complaint,
                             and file proof of service in this court regarding defendant(s) to be served in the future. If
                             service is not perfected on a defendant within 120 days after filing the complaint, a
                             show cause order will issue and the complaint against that defendant is subject to
                             dismissal pursuant to Federal Rules of Civil Procedure 4(m). TEXT ONLY ENTRY, NO
                             DOCUMENT ATTACHED (tg) [Transferred from Arkansas Western on 6/10/2014.]
          03/18/2014     5 NOTICE of Appearance by G. Chadd Mason on behalf of Kortney R. Cline. (Cox,
                           Stephen) Modified attorney on 3/19/2014 (src). [Transferred from Arkansas Western on
                           6/10/2014.]
          03/21/2014     6 MOTION to Stay Defendant Boston Scientific Corporation's Motion to Stay
                           Proceedings Pending Transfer to MDL No. 2326 by Boston Scientific Corporation.
                           (Lawson, Roger) [Transferred from Arkansas Western on 6/10/2014.]
          03/21/2014     7 MEMORANDUM BRIEF in Support of 6 MOTION to Stay Defendant Boston
                           Scientific Corporation's Motion to Stay Proceedings Pending Transfer to MDL No.
                           2326 Defendant Boston Scientific Corporation's Memorandum in Support of Its Motion
                           to Stay Proceedings Pending Transfer to MDL No. 2326 by Boston Scientific
                           Corporation. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit
                           4)(Lawson, Roger) [Transferred from Arkansas Western on 6/10/2014.]
          03/21/2014     8 MOTION to Dismiss Defendant Boston Scientific Corporation's Motion to Dismiss
                           Plaintiff's Original 3 Complaint, MOTION to Dismiss Case by Boston Scientific
                           Corporation. (Lawson, Roger) Added link on 3/24/2014 (src). [Transferred from
                           Arkansas Western on 6/10/2014.]
          03/21/2014     9 MEMORANDUM BRIEF in Support of 8 MOTION to Dismiss Defendant Boston
                           Scientific Corporation's Motion to Dismiss Plaintiff's Original Complaint MOTION to
                           Dismiss Case Defendant Boston Scientific Corporation's Memorandum in Support of Its
                           Motion to Dismiss Plaintiff's Original 3 Complaint by Boston Scientific Corporation.
                           (Lawson, Roger) Added link on 3/24/2014 (src). [Transferred from Arkansas Western
                           on 6/10/2014.]
          03/25/2014    10 NOTICE by Kortney R. Cline Notice of Opposition to Conditional Transfer Order
                           (Cox, Stephen) [Transferred from Arkansas Western on 6/10/2014.]
          04/04/2014    11 AMENDED COMPLAINT with Jury Demand as to 3 Complaint against filed by
                           Kortney R. Cline. Related document: 3 Complaint filed by Kortney R. Cline.
                           (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Cox, Stephen) Modified on 4/7/2014 to
                           edit text (jn). [Transferred from Arkansas Western on 6/10/2014.]
          04/04/2014    12 RESPONSE to Motion re 8 MOTION to Dismiss Defendant Boston Scientific
                           Corporation's Motion to Dismiss Plaintiff's Original Complaint MOTION to Dismiss
                           Case filed by Kortney R. Cline. (Cox, Stephen) [Transferred from Arkansas Western on
                           6/10/2014.]
          04/04/2014    13 MEMORANDUM BRIEF in Support of 12 Response to Motion by Kortney R. Cline.
                           (Cox, Stephen) [Transferred from Arkansas Western on 6/10/2014.]


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          04/04/2014    14 RESPONSE to Motion re 6 MOTION to Stay Defendant Boston Scientific
                           Corporation's Motion to Stay Proceedings Pending Transfer to MDL No. 2326 filed by
                           Kortney R. Cline. (Cox, Stephen) [Transferred from Arkansas Western on 6/10/2014.]
          04/04/2014    15 MEMORANDUM BRIEF in Support of 14 Response to Motion by Kortney R. Cline.
                           (Cox, Stephen) [Transferred from Arkansas Western on 6/10/2014.]
          04/08/2014    16 MOTION to Vacate Motion to Vacate Conditional Transfer Order and Brief in Support
                           Thereof by Kortney R. Cline. (Cox, Stephen) [Transferred from Arkansas Western on
                           6/10/2014.]
          04/11/2014    17 REPLY to Response to Motion re 6 MOTION to Stay Defendant Boston Scientific
                           Corporation's Motion to Stay Proceedings Pending Transfer to MDL No. 2326 filed by
                           Boston Scientific Corporation. (Crass, Kevin) [Transferred from Arkansas Western on
                           6/10/2014.]
          04/11/2014    18 REPLY to Response to Motion re 8 MOTION to Dismiss Defendant Boston Scientific
                           Corporation's Motion to Dismiss Plaintiff's Original Complaint MOTION to Dismiss
                           Case filed by Boston Scientific Corporation. (Crass, Kevin) [Transferred from Arkansas
                           Western on 6/10/2014.]
          04/14/2014    19 MOTION to Remand by Kortney R. Cline. (Attachments: # 1 Exhibit Affidavit of
                           Plaintiff's Attorney)(Cox, Stephen) [Transferred from Arkansas Western on 6/10/2014.]
          04/14/2014    20 MEMORANDUM BRIEF in Support of 19 MOTION to Remand by Kortney R. Cline.
                           (Cox, Stephen) [Transferred from Arkansas Western on 6/10/2014.]
          04/18/2014    21 ANSWER to Complaint with Jury Demand by Boston Scientific Corporation.(Lawson,
                           Roger) [Transferred from Arkansas Western on 6/10/2014.]
          04/18/2014    22 MOTION to Dismiss Defendant Boston Scientific Corporation's Motion for Partial
                           Dismissal of Plaintiff's First Amended Complaint by Boston Scientific Corporation.
                           (Lawson, Roger) [Transferred from Arkansas Western on 6/10/2014.]
          04/18/2014    23 MEMORANDUM BRIEF in Support of 22 MOTION to Dismiss Defendant Boston
                           Scientific Corporation's Motion for Partial Dismissal of Plaintiff's First Amended
                           Complaint Defendant Boston Scientific Corporation's Memorandum in Support of Its
                           Motion for Partial Dismissal of Plaintiff's First Amended Complaint by Boston
                           Scientific Corporation. (Lawson, Roger) [Transferred from Arkansas Western on
                           6/10/2014.]
          04/28/2014    24 ***PLEASE DISREGARD. WRONG PDF ATTACHED. CORRECT DOCUMENT
                           FILED. Please see document (25).***RESPONSE in Opposition re 19 MOTION to
                           Remand filed by Boston Scientific Corporation. (Crass, Kevin) Modified on 4/28/2014
                           to edit docket text and restrict PDF per chambers (mfr). [Transferred from Arkansas
                           Western on 6/10/2014.]
          04/28/2014    25 RESPONSE in Opposition re 19 MOTION to Remand filed by Boston Scientific
                           Corporation. (Crass, Kevin) [Transferred from Arkansas Western on 6/10/2014.]
          05/02/2014    26 RESPONSE to Motion re 22 MOTION to Dismiss Defendant Boston Scientific
                           Corporation's Motion for Partial Dismissal of Plaintiff's First Amended Complaint filed
                           by Kortney R. Cline. (Cox, Stephen) [Transferred from Arkansas Western on
                           6/10/2014.]




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          05/02/2014    27 MEMORANDUM BRIEF in Support of 26 Response to Motion by Kortney R. Cline.
                           (Cox, Stephen) [Transferred from Arkansas Western on 6/10/2014.]
          05/09/2014    28 MEMORANDUM BRIEF in Support of 22 MOTION to Dismiss Defendant Boston
                           Scientific Corporation's Motion for Partial Dismissal of Plaintiff's First Amended
                           Complaint by Boston Scientific Corporation. (Crass, Kevin) [Transferred from
                           Arkansas Western on 6/10/2014.]
          06/10/2014    29 MDL CONDITIONAL TRANSFER ORDER. Case transferred to Southern District of
                           West Virginia. Documents transmitted as requested. (src) [Transferred from Arkansas
                           Western on 6/10/2014.]
          06/10/2014    30 CASE TRANSFERRED IN from the Arkansas Western; Case Number 5:14-cv-05090.
                           Original file certified copy of transfer order and docket sheet received.
          06/11/2014    31 TRANSMITTED PRETRIAL ORDER # 101 (Revised Short Form Complaint and
                           Amended Short Form Complaint re: Addition of Neomedic Entities and Removal of
                           Ethicon, LLC) entered on 05/29/2014 in MDL 2326 to attorneys in member case.
                           (Attachments: # 1 Exhibit A - Short Form Complaint, # 2 Exhibit B - Amended Short
                           Form Complaint) (kw)
          08/05/2014    32 NOTICE OF ATTORNEY APPEARANCE AND COUNSEL CONTACT
                           INFORMATION FORM by Michael Bonasso on behalf of Boston Scientific
                           Corporation. (Bonasso, Michael)
          10/08/2014    33 AMENDED SHORT FORM COMPLAINT filed by Kortney R. Cline, Jody Cline
                           against Boston Scientific Corporation. (Cox, Stephen) (Modified on 10/9/2014 to add
                           party filer)(skh).
          12/05/2014    34 MOTION by Kortney R. Cline for Extension of Time to provide copies of additional
                           medical records to the attorneys for Defendant (Cox, Stephen)
          03/24/2015    35 ORDER denying 34 MOTION for Extension of Time to Complete Discovery. Signed
                           by Judge Joseph R. Goodwin on 3/24/2015. (cc: attys; any unrepresented party) (ts)
          04/29/2015    36 NOTICE OF ATTORNEY APPEARANCE AND COUNSEL CONTACT
                           INFORMATION FORM by Aimee H. Wagstaff on behalf of Jody Cline, Kortney R.
                           Cline. (Wagstaff, Aimee)
          04/29/2015    37 NOTICE OF ATTORNEY APPEARANCE AND COUNSEL CONTACT
                           INFORMATION FORM by Jon A. Strongman on behalf of Boston Scientific
                           Corporation. (Strongman, Jon)
          01/26/2017    38 INCORRECT ENTRY; SEE ENTRY #39. (Modified on 1/27/2017 to remove
                           incomplete image; complete image filed at entry #39)(skh).
          01/26/2017    39 NOTICE OF REQUEST TO BE REMOVED FROM THE COURT'S SERVICE LIST
                           by Stephen Lance Cox on behalf of Kortney R. Cline, Jody Cline (Cox, Stephen)
          01/27/2017         NOTICE OF DOCKET CORRECTION re: #38 Notice of Request to be Removed from
                             the Court's Service List by Stephen Lance Cox. ERROR: Incomplete image attached.
                             CORRECTION: Incomplete image removed; complete image filed at entry #39. (skh)
          06/08/2017    40 PLAINTIFF PROFILE FORM filed by Jody Cline, Kortney R. Cline. (Wagstaff,
                           Aimee)




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          01/30/2018    41 PRETRIAL ORDER # 175 (Docket Control Order - Boston Scientific Corp. Wave 4
                           Cases) THIS PRETRIAL ORDER SETS MANDATORY DEADLINES FOR
                           MOST OF THE REMAINING BOSTON SCIENTIFIC CORPORATION CASES.
                           The court ORDERS that this Docket Control Order be filed in the main MDL and, as of
                           the time of that filing in every case listed on Exhibit A (hereinafter "Wave 4 cases")
                           becomes subject to the deadlines in this Docket Control Order. The following deadlines
                           apply in all Wave 4 cases: A. Scheduling Deadlines. Plaintiff Fact Sheets due by
                           3/19/2018, Defendant Fact Sheets due by 4/19/2018, Deadline for written discovery
                           requests due by 5/18/2018, Expert disclosure by plaintiffs due by 6/04/2018, Expert
                           disclosure by defendants due by 7/05/2018, Expert disclosure for rebuttal purposes due
                           by 7/23/2018, Deposition deadline and close of discovery due by 9/04/2018, Deadline
                           to file list of general causation experts in each individual Wave 4 case due by 9/11/2018,
                           Filing of Dispositive Motions due by 9/21/2018, Response to Dispositive Motions due
                           by 10/05/2018, Reply to response to dispositive motions due by 10/12/2018, Filing of
                           Daubert motions due by 10/05/2018, Responses to Daubert motions due by 10/19/2018,
                           and Reply to response to Daubert motions due by 10/26/2018. B.4. Confidential
                           Documents. In the event there are issues related to sealing of confidential documents
                           that the parties are unable to resolve, they must be brought to the court's attention in a
                           consolidated manner as follows: Any consolidated motion to seal is due on or before
                           8/10/2018, and any response is due by 8/24/2018. Any reply is due by 8/31/2018. C.1.
                           Venue Recommendations. By no later than 8/27/2018 the parties shall meet and confer
                           concerning the appropriate venue for each of the cases, and the parties are ORDERED
                           to submit joint venue recommendations to the court by 9/03/2018. Additional directives
                           are set forth herein. Signed by Judge Joseph R. Goodwin on 1/30/2018. (cc: Clerk of the
                           JPMDL; attys; any unrepresented party) (REF: MDL 2326; BSC Wave 4 Cases Listed
                           on Exhibit A) (kab) (Entered: 02/02/2018)
          05/23/2018    42 UNOPPOSED MOTION by Kortney R. Cline to Extend PTO # 175 Scheduling
                           Deadlines (Attachment: # 1 Proposed Order)(Wagstaff, Aimee)
          06/04/2018    43 NOTICE OF DEPOSITION by Kortney R. Cline of Dr. Gregory Reiter on August 14,
                           2018 at 9:00 a.m. (Wagstaff, Aimee)
          06/04/2018    44 NOTICE OF DEPOSITION by Kortney R. Cline of Dr. Jennifer Bingham on August
                           15, 2018 at 9:00 a.m. (Wagstaff, Aimee)
          06/04/2018    45 NOTICE OF DEPOSITION by Kortney R. Cline of Dr. Michael Carley on August 17,
                           2018 at 9:00 a.m. (Wagstaff, Aimee)
          06/13/2018    46 PRETRIAL ORDER # 187 (Amended Docket Control Order - Boston Scientific Corp.
                           Wave 4 Cases) Because the court has determined there was confusion as to expert
                           deadlines, changes have been made to Paragraph A of PTO # 175. The parties are
                           advised that while this order will be entered in the individual cases in the coming
                           days, it is effective as of the day it was entered in the main MDL. The following
                           deadlines immediately apply in all Wave 4 cases: Plaintiff Fact Sheets due by
                           03/19/2018; Defendant Fact Sheets due by 04/19/2018; Deadline for written discovery
                           requests due by 05/18/2018; Expert disclosures served by plaintiffs pursuant to Fed. R.
                           Civ. P. 26 as limited by 3.a. of this order due by 07/13/2018; Expert disclosure served
                           by defendants pursuant to Fed R. Civ P. 26 as limited by 3.a. of this order due by
                           08/13/2018; Expert disclosure served for rebuttal pursuant to Fed R. Civ. P. 26 as
                           limited by 3.a. of this order due by 08/20/2018; Deposition deadline and close of
                           discovery due by 10/04/2018; Filing of Dispositive Motions due by 10/18/2018;
                           Response to Dispositive Motions due by 10/25/2018; Reply to response to Dispositive


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                             motions due by 11/01/2018; Filing of Daubert motions due by 10/18/2018; Responses to
                             Daubert motions due by 10/25/2018; and Reply to response to Daubert motions due by
                             11/01/2018. Signed by Judge Joseph R. Goodwin on 6/13/2018. (cc: Clerk of the
                             JPMDL; attys; any unrepresented party) (REF: MDL 2326; BSC Wave 4 Cases) (lca)
                             (ADI) (Entered: 06/18/2018)
          07/24/2018    47 AMENDED NOTICE OF DEPOSITION by Kortney R. Cline of Dr. Jennifer Bingham
                           on September 25, 2018 at 1:30 p.m. (Wagstaff, Aimee)
          07/24/2018    48 AMENDED NOTICE OF DEPOSITION by Kortney R. Cline of Dr. Michael Carley on
                           September 27, 2018 at 5:00 p.m. (Wagstaff, Aimee)
          07/24/2018    49 AMENDED NOTICE OF DEPOSITION by Kortney R. Cline of Dr. Gregory Reiter on
                           September 25, 2018 at 8:00 a.m. (Wagstaff, Aimee)
          08/15/2018    50 CERTIFICATE OF SERVICE by Boston Scientific Corporation for Rule 26
                           Designation and Disclosure of Expert Witnesses. (Anielak, Eric)
          09/07/2018    51 INACTIVE DOCKET ORDER: The court has been advised that the plaintiff(s) and
                           Boston Scientific Corporation have reached a settlement. The Court ORDERS as
                           follows: All discovery deadlines are continued until further order of the court.
                           Plaintiff(s) and defendant may submit an agreed order of dismissal with prejudice on or
                           before 10/31/2018; if settlements are not finalized and dismissal orders are not
                           submitted by then the Court will have a hearing to determine the appropriate action
                           pertaining to any remaining case(s) on the inactive docket. Counsel for plaintiff(s) and
                           defendant are directed to provide quarterly reports as to their progress in dismissing
                           cases on the inactive docket. The court will reinstate the case to the active docket if one
                           of the parties shows good cause for such reinstatement. This Order is related to the
                           Proposed Inactive Docket Order filed at ECF No. 6683 in MDL Case No. 2326 Boston.
                           Signed by Judge Joseph R. Goodwin on 9/7/2018. (cc: counsel of record; any
                           unrepresented party) (kp)
          10/17/2018    52 NOTICE OF DEPOSITION DUCES TECUM by Boston Scientific Corporation of
                           Kortney Cline on October 25, 2018 at 10:00 a.m. (Keale, James)
          03/29/2019    53 MOTION by Jody Cline, Kortney R. Cline to Remand Case to Circuit Court of
                           Washington County (Attachments: # 1 Exhibit A)(Wagstaff, Aimee)
          04/12/2019    54 NOTICE OF ATTORNEY APPEARANCE AND COUNSEL CONTACT
                           INFORMATION FORM by Michael A. Tanenbaum on behalf of Boston Scientific
                           Corporation. (Tanenbaum, Michael)
          04/12/2019    55 RESPONSE by Boston Scientific Corporation re: 53 MOTION by Jody Cline, Kortney
                           R. Cline to Remand Case to Circuit Court of Washington County (Tanenbaum, Michael)
          05/01/2019    56 PRETRIAL ORDER # 208 (Docket Control Order - Boston Scientific Corp. Wave 7
                           Cases) The court ORDERS that the cases on Exhibits A and B are: (1) removed from
                           the pending inactive docket; and (2) placed on the active docket. The court further
                           ORDERS that: (1) The cases are no longer eligible for return to the inactive docket nor
                           may notices of settlement be filed to relieve the parties from scheduling deadlines; (2)
                           To the extent other defendants, in addition to Boston Scientific Corporation, are named
                           in the cases on Exhibits A and B, the deadlines below also apply to them; (3) The Clerk
                           will file this Docket Control Order in the main MDL and every case listed on Exhibits
                           A and B become subject to the deadlines in this Docket Control Order; and (4) The
                           following deadlines immediately apply in all Wave 7 cases with one important


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                             exception, as more fully set forth herein. Scheduling Deadlines. The following
                             deadlines shall apply in all BSC Wave 7 cases: Plaintiff Fact Sheets due by 05/11/2019.
                             Defendant Fact Sheets due by 05/20/2019. Deadline for written discovery requests due
                             by 06/20/2019. Expert disclosures served by plaintiffs due by 08/19/2019. Expert
                             disclosure served by defendants due by 09/18/2019. Expert disclosure served for
                             rebuttal due by 09/25/2019. Deposition deadline and close of discovery due by
                             10/25/2019. Filing of dispositive motions due by 11/01/2019. Response to dispositive
                             motions due by 11/15/2019. Reply to response to dispositive motions due by
                             11/22/2019. Filing of Daubert motions due by 11/04/2019. Responses to Daubert
                             motions due by 11/18/2019. Reply to response to Daubert motions due by 11/25/2019.
                             Confidential Documents. Issues related to sealing of confidential documents that the
                             parties are unable to resolve, must be brought to the court's attention in a consolidated
                             manner as follows: Any consolidated motion to seal is due on or before 9/20/2019, and
                             any response is due by 10/03/2019. Any reply is due by 10/10/2019. Venue
                             Recommendations. The parties shall meet and confer concerning the appropriate venue
                             for each of the cases no later than 10/08/2019, the parties are ORDERED to file joint
                             venue recommendations by 10/18/2019. The parties' joint recommendation(s) shall
                             identify cases where venue is in dispute. Signed by Judge Joseph R. Goodwin on
                             5/1/2019. (cc: Clerk of the JPMDL; attys; any unrepresented party) (REF: MDL 2326;
                             BSC Wave 7 cases identified on Exhibits A and B) (ts) (ADI) (Entered: 05/06/2019)
          05/16/2019    57 NOTICE OF ATTORNEY APPEARANCE AND COUNSEL CONTACT
                           INFORMATION FORM by James H. Keale on behalf of Boston Scientific Corporation.
                           (Keale, James)
          06/05/2019    58 NOTICE OF DEPOSITION DUCES TECUM by Boston Scientific Corporation of
                           Kourtney Cline on July 12, 2019 at 2:00 p.m. (Keale, James)
          06/20/2019    59 CERTIFICATE OF SERVICE by Boston Scientific Corporation for Interrogatories and
                           Request for Production of Documents. (Tanenbaum, Michael)
          08/09/2019    60 CERTIFICATE OF SERVICE by Jody Cline, Kortney R. Cline for Objections and
                           Responses to Defendants First Interrogatories and First Request for Production of
                           Documents. (Wagstaff, Aimee)
          08/19/2019    61 CERTIFICATE OF SERVICE by Jody Cline, Kortney R. Cline for Rule 26 Expert
                           Disclosures. (Wagstaff, Aimee)
          08/28/2019    62 AMENDED NOTICE OF DEPOSITION DUCES TECUM by Boston Scientific
                           Corporation of Kortney Cline on September 20 2019 at 10:00 a.m. (Tanenbaum,
                           Michael)
          09/19/2019    63 CERTIFICATE OF SERVICE by Boston Scientific Corporation for Rule 26
                           Designation and Disclosure of Expert Witnesses. (Strongman, Jon)
          09/26/2019    64 AMENDED NOTICE OF DEPOSITION DUCES TECUM by Boston Scientific
                           Corporation of Kortney Cline on October 7, 2019 at 10:00 a.m. (Tanenbaum, Michael)
          10/01/2019    65 NOTICE OF VIDEOTAPED DEPOSITION by Boston Scientific Corporation of Dr.
                           Donald Ostergard on 10/16/2019 at 3:00 pm MDT (Strongman, Jon)
          10/18/2019    66 NOTICE OF VIDEOTAPED DEPOSITION by Kortney R. Cline of Peter Rosenblatt,
                           MD on 10/25/2019 at 9:30 am ET (Wagstaff, Aimee)




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           10/22/2019   67 NOTICE OF VIDEOTAPED DEPOSITION by Boston Scientific Corporation of Jody
                           Cline on TBD at TBD (Tanenbaum, Michael)
           10/22/2019   68 NOTICE OF VIDEOTAPED DEPOSITION by Boston Scientific Corporation of Robin
                           Umland on TBD at TBD (Tanenbaum, Michael)
           10/22/2019   69 NOTICE OF DEPOSITION by Boston Scientific Corporation of Friends and Family on
                           TBD at TBD (Tanenbaum, Michael)
           11/01/2019   70 MOTION by Boston Scientific Corporation for Summary Judgment and
                           MEMORANDUM IN SUPPORT (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                           Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G)(Strongman, Jon)
           11/05/2019   71 AMENDED NOTICE TO TAKE VIDEOTAPED DEPOSITION by Kortney R. Cline
                           of Peter Rosenblatt, MD on 11/8/2019 at 11:00 am ET (Wagstaff, Aimee)
           11/18/2019   72 MOTION by Kortney R. Cline to Extend Plaintiff's Time to Respond to 70 MOTION
                           by Boston Scientific Corporation for Summary Judgment (Wagstaff, Aimee)
           11/18/2019   73 RESPONSE by Kortney R. Cline in opposition to 70 MOTION by Boston Scientific
                           Corporation for Summary Judgment (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                           Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9
                           Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit
                           N, # 15 Exhibit O)(Wagstaff, Aimee)
           11/19/2019   74 ORDER granting 72 MOTION by Kortney R. Cline to Extend Time to File
                           Response/Reply as to 70 MOTION by Boston Scientific Corporation for Summary
                           Judgment to 11/18/2019. Signed by Judge Joseph R. Goodwin on 11/19/2019. (cc: attys;
                           any unrepresented party) (st)
           08/19/2020   75 ORDER denying 42 UNOPPOSED MOTION by Kortney R. Cline to Extend PTO #
                           175 Scheduling Deadlines. Signed by Judge Joseph R. Goodwin on 8/19/2020. (cc:
                           attys; any unrepresented party) (maw)
           08/19/2020   76 ORDER denying 53 MOTION by Jody Cline, Kortney R. Cline to Remand Case to
                           Circuit Court of Washington County. Signed by Judge Joseph R. Goodwin on
                           8/19/2020. (cc: attys; any unrepresented party) (maw)
           08/21/2020   77 ORDER AND SUGGESTION OF REMAND Pursuant to 28 U.S.C. § 1407 and the
                           Rules for Multidistrict Litigation, the court suggests that the cases on Exhibit A be
                           remanded to the courts from which they came, as identified on the attached Exhibit A;
                           on or before 8/28/2020 the parties are directed to confer and to file in this case, all
                           documents from the main MDL that the parties jointly deem relevant to constitute an
                           appropriate record for the receiving court to consider; the court directs that upon receipt
                           and filing of an order to remand from the Clerk of the JPMDL, the Clerk shall remand
                           the case to the United States District Courts identified on Exhibit A; on the Transfer
                           Date, the Clerk is directed to use the appropriate function in CM/ECF to extract the
                           cases on Exhibit A and remand them to the United States District Courts identified on
                           Exhibit A; after remand of the cases, the Clerk is directed to formally close the cases
                           and strike them from the docket. Signed by Judge Joseph R. Goodwin on 8/21/2020.
                           (cc: Clerk of the JPMDL; counsel of record; any unrepresented party) (REF: MDL
                           2326; cases on Exhibit A) (maw)
           08/28/2020   78 DESIGNATION OF RECORD for MDL transfers re: 2:12-md-02326 - Boston
                           Scientific Corporation. (Attachments: # 1 Exhibit ECF 161 - BSC PTO-11 - Stipulated



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                             Protective Order, # 2 Exhibit ECF 184 - BSC PTO-13 - Stipulation for Production of
                             Docs and ESI, # 3 Exhibit ECF 196 - BSC PTO-14 - New Direct Filing Order, Master
                             Complaint, SF Complaint, # 4 Exhibit ECF 197 - Master Long Form Complaint, # 5
                             Exhibit ECF 200 - BSC_s Master Answer to Master Long Form Complaint, # 6 Exhibit
                             ECF 8025 - BSC PTO-208 - DCO BSC Wave 7 Cases, # 7 Exhibit ECF 8315 - Pltf_s
                             Notice of Adoption of Prior Daubert Motion Badylak, # 8 Exhibit ECF 4826 - Pltf_s
                             Motion and Memo Support of MTE Badylak, # 9 Exhibit ECF 8364 - BSC_s Notice of
                             Adoption of Prior Daubert Response of Badylak, # 10 Exhibit ECF 4976 - BSC_s Opp
                             to Pltf_s MTE Badylak, # 11 Exhibit ECF 5033 - Pltf_s Reply to Deft_s Response to
                             Pltf_s MTE Badylak, # 12 Exhibit ECF 6041 - Memo Opinion and Order re Daubert
                             Motion Badylak, # 13 Exhibit ECF 8316 - Pltf_s Notice of Adoption of Prior Daubert
                             Motion Little, # 14 Exhibit ECF 4825 - Exh 1, # 15 Exhibit ECF 4825 - Exh 2, # 16
                             Exhibit ECF 4825 - Exh 3, # 17 Exhibit ECF 4825 - Exh 4, # 18 Exhibit ECF 4825 -
                             Exh 5, # 19 Exhibit ECF 4825 - Pltf_s Motion and Memo Support of MTE Little, # 20
                             Exhibit ECF 8362 - BSC_s Notice of Adoption of Prior Daubert Response of Little, #
                             21 Exhibit ECF 4979 - BSC_s Response in Opp to Pltf_s MTE Little, # 22 Exhibit ECF
                             5034 - Pltf_s Reply to Deft_s Response to Pltf_s MTE Little, # 23 Exhibit ECF 6044 -
                             Memo Opinion and Order re Daubert Motion Little, # 24 Exhibit ECF 8317 - Pltf_s
                             Notice of Adoption of Prior Daubert Motion Spiegelberg, # 25 Exhibit ECF 7004 -
                             Pltf_s MTE and Memo re Spiegelberg, # 26 Exhibit ECF 4827 - Pltf_s MTE
                             Spiegelberg and Memo in Support, # 27 Exhibit ECF 8377 - BSC_s Notice of Adoption
                             of Prior Daubert Response Spiegelberg, # 28 Exhibit ECF 7088 - BSC_s Response in
                             Opposition to Pltf_s MTE Spiegelberg, # 29 Exhibit ECF 4969 - BSC_s Response in
                             Opp to Pltf_s MTE Spiegelberg, # 30 Exhibit ECF 7160 - Pltf_s Reply in Support of
                             MTE Spiegelberg, # 31 Exhibit ECF 5031 - Pltf_s Reply in Support of MTE
                             Spiegelberg, # 32 Exhibit ECF 6049 - Memo Opinion and Order re Daubert Motion
                             Spiegelberg, # 33 Exhibit ECF 8326 - Pltf_s Notice of Adoption of Prior Daubert
                             Motion re Rosenblatt, # 34 Exhibit ECF 4833 - Pltf_s MTE Rosenblatt and Memo in
                             Support, # 35 Exhibit ECF 8363 - BSC_s Notice of Adoption of Prior Daubert
                             Response of Rosenblatt, # 36 Exhibit ECF 4978 - BSC_s Memo in Opp to Pltf_s MTE
                             Rosenblatt, # 37 Exhibit ECF 4978 - Exh A, # 38 Exhibit ECF 4978 - Exh B, # 39
                             Exhibit ECF 5039 - Pltf_s Reply Brief in Support of MTE Rosenblatt, # 40 Exhibit ECF
                             6047 - Memorandum Opinion and Order re Daubert Motion re Dr. P. Rosenblatt, # 41
                             Exhibit ECF 8339 - BSC's Notice of Adoption of Prior Daubert MTE Blaivas, # 42
                             Exhibit ECF 4822 - BSC_s Motion and Memo in Support MTE Blaivas (1), # 43
                             Exhibit ECF 8351 - Pltf's Notice of Adoption of Prior Daubert Response Blaivas, # 44
                             Exhibit ECF 4962 - Pltf_s Opp to BSC_s MTE Blaivas, # 45 Exhibit ECF 6029 - Memo
                             Opinion and Order re Daubert Motion Blaivas, # 46 Exhibit ECF 8330 - BSC_s Memo
                             in Support of MTE Mays, # 47 Exhibit ECF 8365 - Pltf_s Memo in Opp to BSC_s MTE
                             Mays, # 48 Exhibit ECF 8384 - BSC_s Reply in Support of MTE Mays, # 49 Exhibit
                             ECF 8340 - BSC Notice of Adoption of Prior Daubert Response re Donald Ostergard, #
                             50 Exhibit ECF 8355 - Pltfs Notice of Adoption of Prior Daubert Response re Donald
                             Ostergard, # 51 Exhibit ECF 8336 - BSC_s Notice of Adoption of Prior Daubert MTE
                             Pence, # 52 Exhibit ECF 4815 - BSC_s MTE Pence and Memo in Support, # 53 Exhibit
                             ECF 8356 - Pltf_s Notice of Adoption of Prior Daubert Response Pence, # 54 Exhibit
                             ECF 4968 - Pltf_s Response in Opp to BSC_s MTE Pence, # 55 Exhibit ECF 8381 -
                             BSC_s Notice of Adoption of Reply Memo in Support of its MTE Pence, # 56 Exhibit
                             ECF 5038 - BSC_s Reply Memo in Support of MTE Pence, # 57 Exhibit ECF 6038 -
                             Memo Opinion and Order re Daubert Motion Pence, # 58 Exhibit ECF 8328 - BSC_s
                             Notice of Adoption of Prior Daubert MTE Rosenzweig, # 59 Exhibit ECF 8084 -
                             BSC_s MTE Rosenzweig, # 60 Exhibit ECF 8084 - Exh A, # 61 Exhibit ECF 8084 -


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                             Exh B1, # 62 Exhibit ECF 8084 - Exh B2, # 63 Exhibit ECF 8084 - Exh B3, # 64
                             Exhibit ECF 8084 - Exh B4, # 65 Exhibit ECF 8084 - Exh C, # 66 Exhibit ECF 8084 -
                             Exh D, # 67 Exhibit ECF 8357 - Pltf_s Response and Memo in Opp to BSC_s MTE
                             Rosenzweig, # 68 Exhibit ECF 8382 - BSC_s Reply in Support of MTE Rosenzweig, #
                             69 Exhibit ECF 6039 - Memo Opinion and Order re Daubert Motion Rosenzweig, # 70
                             Exhibit ECF 104 - Frankum - Memo, Opinion, and Order (Daubert Motions), # 71
                             Exhibit ECF 216 - Pltf_s Memo in Support of MTE Spiegelberg, # 72 Exhibit ECF 275
                             - BSC_s Opposition to Pltf_s MTE Spiegelberg, # 73 Exhibit ECF 275 - Exh A, # 74
                             Exhibit ECF 275 - Exh B, # 75 Exhibit ECF 218 - BSC's Memo in Support of MTE
                             Ostergard, # 76 Exhibit ECF 286 - Exh 1, # 77 Exhibit ECF 286 - Exh 2, # 78 Exhibit
                             ECF 286 - Exh 3, # 79 Exhibit ECF 286 - Exh 4, # 80 Exhibit ECF 286 - Exh 5, # 81
                             Exhibit ECF 286 - Exh 6, # 82 Exhibit ECF 286 - Exh 7, # 83 Exhibit ECF 286 - Exh 8,
                             # 84 Exhibit ECF 286 - Exh 9, # 85 Exhibit ECF 286 - Exh 10, # 86 Exhibit ECF 286 -
                             Exh 11, # 87 Exhibit ECF 286 - Exh 12, # 88 Exhibit ECF 286 - Exh 13, # 89 Exhibit
                             ECF 286 - Exh 14, # 90 Exhibit ECF 286 - Exh 15, # 91 Exhibit ECF 286 - Exh 16, #
                             92 Exhibit ECF 286 - Exh 17, # 93 Exhibit ECF 286 - Exh 18, # 94 Exhibit ECF 286 -
                             Exh 19, # 95 Exhibit ECF 286 - Exh 20, # 96 Exhibit ECF 286 - Exh 21, # 97 Exhibit
                             ECF 286 - Exh 22, # 98 Exhibit ECF 286 - Exh 23, # 99 Exhibit ECF 286 - Exh 24, #
                             100 Exhibit ECF 286 - Exh 25(1), # 101 Exhibit ECF 286 - Exh 25(2), # 102 Exhibit
                             ECF 286 - Exh 26, # 103 Exhibit ECF 286 - Exh 27, # 104 Exhibit ECF 286 - Exh 28, #
                             105 Exhibit ECF 286 - Exh 29, # 106 Exhibit ECF 286 - Pltf_s Opp to BSC's Motion
                             and Memo in Support MTE Ostergard, # 107 Exhibit ECF 473 - Amended Memo
                             Opinion and Order (Daubert Motions))(Strongman, Jon)




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